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               Supreme Court of the United States
                      Office of the Clerk
                  Washington, DC 20543-0001
                                                                  Scott S. Harris
                                                                  Clerk of the Court
                                                                  (202) 479-3011
                                 October 3, 2022


 Clerk
 United States Court of Appeals for the Fourth
 Circuit
 1100 East Main Street
 Room 501
 Richmond, VA 23219


       Re: Donald L. Blankenship
           v. United States
           No. 21-1428
           (Your No. 20-6330)


 Dear Clerk:

       The Court today entered the following order in the above-entitled case:

       The petition for a writ of certiorari is denied.



                                         Sincerely,




                                         Scott S. Harris, Clerk
